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                  is .obtained by multiplyinjj the mass number by the funda- 885
                 umt of mass, 1.6605 X 10- 4 grams CTI! the mass of C12 atom) - - - - - - - - - - - - - - ' - ' - ' - - _ _ . . . _ .___.,__.,__ __;:.
                  herapy (mas'o ther'a pe) n. physical therapy by means of
                   -mas'so·ther'a·pist (-pist) n.
                    duction the production of goods in large quantities, esp.
                      ery and diVJsion of labor -mass'-produce' vt. ·duced',
                   ectrograph an instrument for analyzing ionized parti-
                  assing them through electric and magnetic fields, typically
                   to focus particles of equal mass to a point where they are                                               pit~aryc,i:J<?'\V'~rs; '.
                  : used esp. to determine the abundance of chemical com-                                               iriJierycritP<?"'fe~~,a~,
               s or isotopes: also mass spectrometer                                                    _ .... . . J:lle Jlith;a;magiste(ial a.fr]' _
                ransit a large-scale system of public transportation serving                       master hand 1 an expert 2 great ability or skill
               or metropolitan area, or such systems collectively                                  master key a key that will open every one of a set of locks
                 (mas'e) adj. mass'i·er, mass'i·est [Now Rare] massive;                            mas·terly (mas'tar le) adj. showing the ability or skill of a master;
                y, bulky, etc. -mass'i·ness n.                                                      expert [a masterly job of repair work]-adv. in a masterly manner
               (mast, mast) n. [ME maste <OE mrest, akin to Ger mast< IE                            -mas'-ter·li·ness n.
                os, a pole, rod> L malus, mast(< *madus with Sabine l for                          master mason 1 a highly skilled mason 2 [often M- M-] a Free-
                 aide, a stick] 1 a tall spar or, now often, a hollow metal                         mason of the third degree
                  e, sometimes in sections, rising vertically from the keel or                     master· mind (mas'tarmind') n. a very intelligent or clever person,
                  a vessel and used to snpport the sails, yards, radar and                          esp. one with the ability to plan or direct a group project -vt. to be
                  nipment, etc. 2 a specified section of this [the topmast] 3                       the mastermind of (a project)
                  ·cal pole, as in a crane or derrick 4 a metal post for the                       Master of Arts (or Science, etc.) a degree given by a college or
                  of a radio aerial or television antenna ,,.5 [also M-] U.S.                       university to a person who has completed a prescribed course of
               a summary session held by the commanding officer to try                              graduate study in the humanities or related studies (or in science,
                offenses, hear requests, or give commendations: in full cap-                        etc.): it ranks above the degree of Bachelor and below that of
                mast -vt. to put a mast or masts on -before the mast                                Doctor: also master's (degree)
                ers for common sailors were formerly located forward of the                               t        f             ·
               ast] [Now Rare! as a common sailor                                                  mas er O ceremonies 1 a person who supervises a ceremony
                                                                                                    -tr2 ~;person who presides over an entertainment, as on a radio or
                           ast, mast) n. [ME maste <OE m:Est, akin to Ger mast< IE                  teleVlsion program or in a nightclub, at a banquet, etc., introducing
                    *mad·, moist, dripping (with fat, sap) > MEAT, Gr mastos, a                     the speakers or performers, filling in the intervals with jokes, etc.
                    t] beechnuts, acorns, chestnuts, etc., esp. as food for hogs                   master· piece (mas'tar pes') n. [calque of Ger meisterstuck] 1 a
                       combining form MASTO-: used before a vowel                                   thing made or done with masterly skill, great work of art or crafts-
                     aba or mas·ta·bah (mas'ta ba) n. [Ar mai;tabah] an oblong                      manship 2 the greatest work made or done by a person or group
                          e :with a flat roof an~ sloping                                          Mas•ters (mas'tarz), Edgar Lee 1869-1950; U.S. poet
                        bmlt over the ope'?-mg _of. a                                            ;,master sergeant U.S. Mil. a noncommissioned officer of high
                        Y chamber or burial pit ID                                                  rank; in the Army, the rank just above sergeant first class; in the
                       t Egypt and used as a tomb                                                   Air Force, the rank just above technical sergeant; in the Marine
                      cell [ < Ger mastzelle < mast,                                                Corps, the rank just above gunnery sergeant
                      see. MAST') + zelle, cell < O:\IG                                            mas•ter·ship (mas'tar ship') n. 1 the state of being a master; rule;
                        L. see .C)lLL] a cell contaIDiJ!g                                           control; dominion 2 the position, duties, or term of office of a
                       ~asophilic granules, .found ID                                               master 3 masterly ability· expert skill or knowledge
                     ctive and other body tissues                                                         t      .           . '    '                    .      .
                     ec•tomy (mas tek'ta me) n., pl.                                               ~:a::·smger (-siJJ ar) n. [calque of Ger meistersmger] MEISTER-
                       [MAST(O)- + -ECTOMY] the sur-                                                      t           k        - '                    .                .
                        emoval of all or part of a                                                 mas er·stro e (-strok) n. a masterly action, move, or achievement
                         usually so as to remove can-             MASTABA                          master tape MASTER (n. 5b)
                        tissue                                                                     master·work (-wffi'k') n. MASTERPIECE
                   •ter (mas'tar .mas'-) n. [ME maistre <OE mregester magister                     mas·tery (mas'tar e, mas'-) n.,pl. -·ter·ies [ME maistrie < OFr: see
                   Fr maistre, both < L magister, a master, chief, lea'der, orig.                   MASTER] 1 maste:i;ship; rule; control 2 ascendancy o~ .victory in
                  ble compar. <base of L magnus, great< IE *meg(h)- >MUCH]                          st:i;uggle or competition; the upper hand 3 masterly ability;.expert
                   man who rules others or has control, authority, or power over                    skill or: knowledge !his mastery of chess} 4 the act of mastenng (an
                   ething; specif., a) a man who is head of a household or institu-                 art, science, etc.)
                    b) an employer c) one who owns a slave or an animal d) the                     mast·head (mast"hed') n. 1 the top part of a ship's mast ;,2 a box
                 tain of a merchant ship e) the one that excels in a contest, skill,                or section printed in each issue of a newspaper or magazine, giving
                  ; victor or superior f! [Chiefly Brit.] a male schoolteacher or                   the publishers, owners, and editors, the location of the offices,
                   r g) a person whose teachings in religion, philosophy, etc. one                  subscription rates, etc. 3 NAMEPLATE (sense 2) -vt. 1 to send (a
                 ows or professes to follow h) [M-] Jesus Christ (with our, the,                    sailor) to the masthead as a punishment 2 to hoist to or display at
                .) 2 something regarded as having control, power, etc. 3 a per-                     the masthead
                   very skilled and able in some work, profession, science, etc.·                  mas·tic (mas'tik) n. [ME mastik < OFr mastic< LL mastichum < L
                  ~rt; specif., a) a highly skilled workman or craftsman qualified                  mastiche < Gr mastiche, akin to mastichan: see fol.] 1 a yellowish
                  allow his or her trade independently and, usually, to supervise                   resin obtained from a small Mediterranean evergreen tree (Pis-
                       rk of others b) an artist regarded as great c) Games, Sports                 tacia lentiscus) of the cashew family, used as an astringent and in
                        n recognized as having achieved the highest degree of skill                 making varnish, adhesives, etc. 2 the tree: in full mastic tree 3
                       master, golf master] 4 [M-1 a title variously applied to a)                  any of various pasty substances used as adhesives, sealants, etc.
                       "cl any man or youth (now superseded by the variant Mister,                 mas·ti·cate (mas'ti kat') vt. --cat'ed, -·cat'-ing [< LL masticatus,
                     ly written Mr. when placed before the name) b) a boy                           pp. of masticare, to chew< Gr mastichan, to grind the teeth, gnash
            I~garded as too young to be addressed as Mr. c) a man who heads                         < mastax, a mouth, morsel < IE base *menth-, to chew, mouth >
            ,~?me institution, group, activity, or place d) in Scotland, the heir                   MOU'l'H, L man.dere, to chew] 1 to chew up (food, etc.) 2 to grind,
             apparent of a viscount or baron 5 a) a metal matrix or mold made                       cut, or knead (rubber, etc.) to a pulp -mas'-ti·ca'-tion n. -mas'-ti·
            from the original recording and used to produce phonograph                              ca"tor n.
            r~~o!ds in quantity b) a completed tape recording used to produce                     mas·ti·ca·tory (-ka t6r'e) adj. of or for mastication; specif.,
            discs, cassettes, etc. for sale 6 Law any of several court officers                     adapted for chewing-n. pl. -·ries any substance to be chewed but
            appointed to assist the judge by hearing evidence, reporting on                        not swallowed, as a medicine
              ei;tain u:atters, etc, -adj. .1 bein¥ a ~aster 2 of ~ master 3                      mas-tiff (mas'tiD n. [ME mastif < OFr mastin < VL *mansuetinus
              Wef; mam; controllmg; specif., designating a mechanism or con-                        < L mansuetus, tame; ME form inf!. by OFr mestif, a mongrel < L
               \'ance that controls others or sets a standard or norm [a master                     mixtus, mixed: see MIX] any of a breed of large, powerful dog with
                 tch, a master test sheet] -vt. 1 to become master of; control,                    hanging lips and drooping ears and having a short, thick, often
              O,nquer, etc. 2. fN:ow Rare] to .rule or govern as master 3 to                       fawn-colored coat, dark on the muzzle, nose, and ears: formerly
       :';.hecome an expert m (an art, science, etc.) 4 to make a MASTER                           used for hunting, now often a watchdog and guard dog: also called
l., ;.C~~nse 5) of                                  .                                               Old English mastiff
       ,master-at-arms (-at armz') n., pl._ mas'ters-at-arms' U.S. Navy a                         mas·ti·gopho·ran (mas'ti giif'a ran) n. [< ModL Mastigophora (<
        •:,          officer responsible for keeping order, maintaining discipline,                 Gr mastix, gen. mastigos, a whip+ ModL -phora, fem. of -phorus:
                 · g charge of prisoners, etc. on a ship or in a shore station                     see -PHORE) + -AN] any of a subphylum (Mastigophora) of protozo-
              aster builder a person skilled in bnilding, as an architect                          ans, sometimes parasitic, having flagella: certain classes, as dino-
         hl?Ster chief petty officer U.S. Navy an enlisted person of the                           flage!Jates, are also. classified as algae. by bo~anists -adj. o~ or
           highest grade, ranking just above a senior chief petty officer                          relati'?-g.to the mas.tigophorans -mas"t1·goph o·rous <-i:es) ad/.
         ~aster class a class taught by an accomplished musician who                              ~as·tl·tlS (mas tit'1s) n. [< Gr mastos, a breast + -!TIS] inflamma-
            ll)dividually instructs advanced students in performance and tech-                     t10n of the b~e~s.t or udder                                            . .
           mque often before an audience                                                          masto- (mas re, -ta) [< Gr mastos, a breast: see MAST'] combmmg
       'mas·ter·dom (mas'tar dam) n. [Now Rare] complete control· mas-                             form of or like a breast, or mammary gland [mastectomy]
   ,,.;• tery                                                                '                    mas·to-don (mas'te dii.n') n. [< Fr mastodonte, coined {1806) by
        lllas•ter•fUl(mas'tarfol)adj. 1 fondofactingthepartofamaster;                              CUVIER< 9r m~tos (see prec.)_+ odont-, stem of od01fS, TOO'J'.H:
       \ domineering; imperious 2 having or showing the ability of a mas-                          fr~lll t~e ~p~le]ike pr~~~~~e,s2'.1 its lllol'.':'] ~Y 0~ ":'?" :xe~t family
       · t~r;· expert; skillful; masterly: usage objected to by some -mas'·ter· ""'"'~::?.::·S.~,~:.~~;:;!.~l~~;:.ff?P~'S?Y~D:f?.RJ'E?P.9.~.S~~V~P}~:f.~f.T,a:~1q%~9(:\ -~:.'.:!~:,.\.. , ,
           fully adv. -mas'-ter·ful·ness n.                                          ·' Jhe;syll)bol;i'.f'iS\IJse!j;,~o'll)•fkter!ll~C\JArtJercicatt:9ti9in;'''' ·




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